          Case 3:19-cv-00290-EMC Document 154 Filed 12/28/21 Page 1 of 2



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6                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
7                           SAN FRANCISCO-OAKLAND DIVISION
8
9     AMERICAN CIVIL LIBERTIES
      UNION FOUNDATION, et al.,                    Case No. 19-CV-00290-EMC
10
11                  Plaintiffs,                    NOTICE OF WITHDRAWAL OF
                                                   HUGH HANDEYSIDE
12           v.
13    DEPARTMENT OF JUSTICE, et al.,
14
                    Defendants.
15
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17          Counsel for Plaintiffs hereby notify the Court that Hugh Handeyside, one of their

18   attorneys of record, is unavailable to represent Plaintiffs further in this matter and

19   therefore withdraws as counsel of record. Matthew Cagle, currently counsel of record,

20   will continue to represent Plaintiffs following Mr. Handeyside’s withdrawal.

21
22                                            Respectfully submitted,

23    DATED: December 28, 2021                 s/Hugh Handeyside
                                               Hugh Handeyside
24
                                               American Civil Liberties Union Foundation
25                                             125 Broad Street, 18th Floor
                                               New York, NY 10004
26                                             Telephone: 212-549-2500
27                                             hhandeyside@aclu.org

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                            NOTICE OF WITHDRAWAL – HUGH HANDEYSIDE
                                     CASE NO. 19-CV-00290-EMC
     Case 3:19-cv-00290-EMC Document 154 Filed 12/28/21 Page 2 of 2


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                  NOTICE OF WITHDRAWAL – HUGH HANDEYSIDE
                           CASE NO. 19-CV-00290-EMC
